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                                                                                         rray@pryorcashman.com


                                                             March 20, 2013
VIA ECF

Honorable Jed. S. Rakoff
United States District Court
Southern District of New York
500 Pearl Street, Room 1340
New York, New York 10007

        Re: United States v. Henareh, Si 11 Cr. 93 (JSR)

Dear Judge Rakoff:
        I am CJA counsel to defendant Siavosh Henareh in the above-referenced matter. I write
to submit the original Romanian language document containing Mr. Henareh's further objections
and comments to the Presentence Report ("PSR"), the English language translation of which was
e-filed earlier today.




                                                            Respectfully submitted,



                                                            Robert W. Ray
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 Robert Ray

 From:         HENAREH SIAVOSH (65976054)

Sent Date:     Monday, March 18, 2013 8:36 PM

To:            rray@pryorcashnnan.com

Subject:       CONTESTATIE


  BUNA ZIUA DOMNULE AVOCAT ROBERT.W RAY
  ASTAZI 03.13.2013 AM PRIMIT TRADUCEREA IN LIMBA FARSI A MEMORANDUMULUI SCRIS DE DOAMNA
  DAWN DOINO LA DATA DE 02.20.2012 SI AM CITIT Cu ATENTIE DIN CARE AM OBSERVAT FOARTE
  MULTE GRESELI,ERORI SI LUCRURI CARE NU IMI APARTIN. CA DE EXEMPLU:
  -CONTUL 1 PUNCTUL 2 PAGINA 3 A MEMORANDUMULUI IN CARE SUNT ACUZAT IMPREUNA Cu
  DOMNUL CETIN AKSU SPUNE CA AM VR UT SA DISTRIBUIM 1 Kg DE HEROINA SAU MAI MULT CU
  DESTINATIA AMERICA.
  RASPUNSUL MEU ESTE : EU NU AM DISCUTAT NICIODATA CU CETATEANUL TURC CETIN AKSU SAU
 ALTE PERSOANE PENTRU A DISTRIBUI 1 Kg SAU MAI MULT DE HEROINA PENTRU AMERICA NICI
  PENTRU ALTA TARA.
 -CONTUL 2 si 3 PAGINA 3 NU IMI APARTINE MIE TOTUL APARTINE CETATEANULUI BACHAR WHEBE SI
 CETIN AKSU.
 -PUNCTUL 5 PAGINA 4 SCRIE CA CONFORM ARTICOLULUI 853 P TITLUL 21 TREBUIE SA FIE
 CONFISCATE PROPRIETATILE CASTIGATE DIN AFACERI ILEGALE.VA REAMINTESC CA EU NU AM
 FACUT NICIODATA 0 AFACERE ILEGALA CA SA-MI FIE CONFISCATA PROPRIETATEA MEA.
 -PUNCTUL 6 PAGINA 4 NU IMI APARTINE MIE
 -PUNCTUL 9 si 10 PAGINA 5 DEASEMENEA NU IMI APARTIN MIE
 -PUNCTUL 12 PAGINA 5 RASP UNSUL MEU ESTE CA EU AM FOST IN TURCIA PENTRU AFACERI LEGALE
 CA DE EXEMPLU: VANZAREA DE CARNE SI ANIMALE DIN ROMANIA CATRE TURCIA.EU NU AM
 PREZENTAT PE NIMEN I CA VANZATOR SAU CUMPARATOR DE DROGURI.IN CAZ CA AM PREZENTAT
 SAU EXISTA DE CE NU ESTE ARESTAT ?
 -PUNCTUL 13 PAGINA 5 EU IMPREUNA CU AGENTUL 2 SI MUSTAFA NERGIZ NU AM AVUT INTALNIRE IN
 TURCIA SI NICI IN ALTA TARA SA DISCUTAM DESPRE AFACERI CU HEROINA SAU COMISIOANE
 DEOARECE EU NU IL CUNOSC SI NU L-AM VAZUT IN VIATA MEA PE MUSTAFA NERGIZ.AICI LA
 PUNCTUL 13 PAGINA 5 M-ATI CONFUNDAT CU CETIN AKSU DEOARECE LA PUNCUL 16 PAGINA 6 SCRIE
 CA MUSTAFA NERGIZ ESTE SEFUL LUI CETIN AKSU.
 -PUNCTUL 14 PAGINA 5 RASPUNSUL MEU ESTE CA EU NU AM DISC UTAT CU AGENTII 1 si 2 si NICI CU
ALTCINEVA DESPRE EXPORT DE DROGURI CATRE AMERICA SI NICI CATRE ALTA TARA.
- PUNCTUL 15 PAGINA 5 ASA ZISUL VANZATOR CETATENUL TURC A FOST CHEMAT DE AGENTII 1 SI 2
 PENTRU CA EU NU IL CUNOSC SI NU L-AM VAZUT IN VIATA MEA. El AU ARATAT 0 GEANTA DE BANI SI
AU DISCUTAT IN LIMBA TURCA LIMBA PE CARE EU NU 0 INTELEG,DOVADA ESTE CA PE CD NR 7 N62 SI
 DVD 13 EU AM INTREBAT : ACESTI BANI SUNT PENTRU VANZAREA SI CUMPARAREA COVOARELOR
 PERSANE ?
-PUNCTUL 16 S117 PAGINA 6 NU IMl APARTINE MIE EU NU AM DISC UTAT NICI CU AKSU NICI CU
ALTCINEVA DESPRE ARMAMENTE.
-PUNCTUL 18 PAGINA 6 ESTE ADEVARAT CA AM PR IMIT SUMA DE 23.000 USD DE LA UN POLITIST
ROMAN PE NU ME NISTOR
AGENTUL 2 MA RUGAT SA !AU BAN II DE LA NISTOR SI SA-I DUC LA PRIETENUL LUI CARE MA
ASTEAPTA LA COMPANIA MURAT
AGENTUL 2 MA RUGAT SA-I FAC AC EST SERVICIU DEOARECE EL ESTE PLECAT DIN TARA.
POLITISTUL ROMAN PE NUME NISTOR A FOST CA MARTOR LA PROCESUL MEU DIN DATA DE 19
NOIEMBRIE 2012 UNDE A DECLARAT CA HENAREH NU STIA CA AC ESTI BANI SUNT PENTRU
CUMPARAREA DE 1 Kg DE DROGURI.MENTIONEZ CA CINE A PREDAT CANTITATEA DE 1 Kg NU A FOST
SI NU ESTE CUNOSTIINTA MEA,AGENTUL NUMARUL 2 A DECLARAT CA CINE A PREDAT DROGURILE
ESTE PRIETENUL LUI DE 20 DE AN! PE NU ME ATALAY ATASOY SI MA INTREB DE CE ACEASTA
PERSOANA NU ESTE ARESTATA ?
-PUNCTUL 19 PAGINA 6 PE DATA DE 25 IULIE 2011 0 ECHIPA FORMATA DIN 5 AGENTI PE NUME NISTOR
POLITISTUL ROMAN,AGENTUL 2 SI INCA 3 PERSOANE AU VENIT LA MINE ACASA NEINVITATI CA SA
PARA CA EU AM LEGATURA CU ACEASTA AFACERE ILEGALA.DUPA CE AM AFLAT DESPRE CA ESTE
VORBA DE 0 AFACERE ILEGALA AM INCERCAT SA-I DAU AFARA DIN CASA SI IN ACEL MOMENT A

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Robert Ray

 INTRAT POLITIA SI M-AU ARESTAT,MENTIONEZ CA AM LASAT DESCHISA USA CASEI MELE
-PUNCTUL 20 si 21 PAGINA 7 NU IMI APARTIN MIE
-PUNCTUL 22 PAGINA 7 PE DATA DE 25 IULIE 2011 IN ZIUA ARESTARII MELE AKSU NU A FACUT PARTE
 DIN GRUPUL DE 5 AGENTI CARE AU FOST NEINVITATI LA MINE ACASA SI EU NU AM NUMARAT ACESTI
BANI IMPREUNA CU DOMNUL AKSU
AGENTUL 2 A INSISTAT SA PUN MANA PE BANI SA-I VERIFIC DACA SUNT FALSI.
REPET DUPA CE AM AFLAT CA ESTE VORBA DE 0 AFACER E ILEGALA AM INCERCAT SA-I DAU AFARA
DIN CASA.
-PUNCTUL 23 PAGINA 7 VA REPET EU HENAREH NU AM DISCUTAT CU NIMENI DESPRE 189 Kg DE
DROGURI REALE SAU FALSE SI NU AM DISCUTAT DESPRE ACESTE AFACERI ILEGALE.
-PUNCTUL 24 PAGINA 7 EU NU AM LUAT ANGAJAMENTUL SI NU AM VORBIT PENTRU DISTRIBUIREA A
MAI MU LT SAU MAI PUTIN DE 190 Kg DE HEROINA CATRE AMERICA SAU ALTA TARA.
DAR LA PUNCTUL 26 PAGINA 7 SCRIE CA CETIN AKSU ISI IA ANGAJAMENTUL PENTRU DISTRIBUIREA
DROGURILOR CATRE AMERICA.
AICI M-ATI CONFUNDAT CU CETIN AKSU.
-PUNCTUL 25 si 26 PAGINA 7 APARTIN LUI CETIN AKSU SI BACHAR WHEBE



DOMNULE AVOCAT VA ROG INSISTENT SA INTERVENITI CA REPREZENTANT AL MEU LA BIROUL
PROBATION OFFICE LA DOAMNA DAWN DOINO CA SA-MI MODIFICE CE V-AM EXPLICAT ACUM.
VA SPUN ACEST LUCRU CU SPERANTA CA VEDETI SI INTELEGETI REALITATEA ACES TUI CAZ.

CU RESPECT CLIENTUL DUMNEAVOASTRA
HENAREH SIAVOSH.




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